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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


IN THE MATTER OF                              )
THE EXTRADITION OF T.C.                       )              No. 24-mj-01365-DLC
                                              )

                         GOVERNMENT’S RESPONSE TO DKT. 28

       The United States of America respectfully responds to the letter from counsel for T.C.

regarding securing an appearance with foreign property (Dkt. 28), filed after the detention

hearing.

       A bond on T.C.’s father’s property in Turkey will not minimize the risk of flight outlined

by the government in its Motion for Detention (Dkt. 7) and at the June 20, 2024 detention

hearing. T.C. has presented nothing to show the value of the property beyond his father’s

personal estimate, nor has he presented anything to show that no other liens or mortgages exist

on the property or what equity remains in them. Indeed, according to T.C.’s counsel at the

detention hearing, T.C.’s father’s accounts have already been frozen.

       Neither of the examples T.C.’s counsel cites in his letter involved extradition proceedings

and the concomitant treaty obligations. See Dkt. 7 at 14-15 (describing inability of forfeiture of

bond to compensate United States in fulfilling its obligations under an extradition treaty or

country seeking extradition).

       Nor did the defendants in those cases present the same flight risk concerns as T.C., who

has already fled once. In contrast, both Edward Pennings and Roger Knox publicly cooperated

with the government. See, e.g., United States v. Pennings, No. 16-cr-10094-LTS, Dkt. 534

(defense sentencing memorandum describing substantial cooperation, which included testifying

at trial of codefendant); United States v. Knox, No. 18-cr-10385-NMG, Dkt. 254 (government
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sentencing memorandum describing substantial cooperation, including assistance in securing

more than $9 million in forfeiture). With the agreement of the government, Pennings’

appearance was further secured by electronic monitoring and $100,000 cash bond deposited with

the court, in addition to the $2 million bond secured on his property in the United Kingdom. See

Pennings, No. 16-cr-10094-LTS, Dkts. 53, 54, & 56. Knox was originally detained for more

than 18 months, during which time he pleaded guilty. See generally No. 18-cr-10385-NMG.

When the government later assented to his release pending sentencing, Knox’s appearance was

secured by electronic monitoring and a $750,000 bond secured by a surety’s property in

Lexington. Id. at Dkt. 115. It was only after he had been released for nearly 20 months without

incident that the security for the bond was moved to his property in the United Kingdom—and

after he had forfeited millions of dollars. Id. at Dkt. 157. In contrast, the Probation Office has

indicated that electronic monitoring is not available for T.C., nor has he proposed to deposit any

cash bond with the court or to secure a significant bond with property in the United States.

                                                      Respectfully submitted,

                                                      JOSHUA S. LEVY
                                                      Acting United States Attorney


                                              By:     /s/ Kristen A. Kearney
                                                      KRISTEN A. KEARNEY
                                                      Assistant U.S. Attorney

Date: June 25, 2024


                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF).

                                                      /s/ Kristen A. Kearney
                                                      KRISTEN A. KEARNEY
                                                      Assistant U.S. Attorney
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